                           Case 4:01-cv-02484   Document 1   Filed on 07/24/01 in TXSD   Page 1 of 5




ClibPDF - www.fastio.com
                           Case 4:01-cv-02484   Document 1   Filed on 07/24/01 in TXSD   Page 2 of 5




ClibPDF - www.fastio.com
                           Case 4:01-cv-02484   Document 1   Filed on 07/24/01 in TXSD   Page 3 of 5




ClibPDF - www.fastio.com
                           Case 4:01-cv-02484   Document 1   Filed on 07/24/01 in TXSD   Page 4 of 5




ClibPDF - www.fastio.com
                           Case 4:01-cv-02484   Document 1   Filed on 07/24/01 in TXSD   Page 5 of 5




ClibPDF - www.fastio.com
